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UNITED STATES DISTRICT COURT

DISTRICT OF CONNECTICUT

JOSEPH FERRARO; and : CIVIL CASE NO.

DOUBLE K EXPRESS, INC. :

VS.

OTIS DELANO REYNOLDS; and ‘

AKA 1 TRANS, INC. : February 21, 2019
COMPLAINT

FIRST COUNT: (AS TO JOSEPH FERRARO VS. OTIS DELANO
REYNOLDS, ET AL)

1. At all times mentioned herein, the plaintiff, Joseph Ferraro, was a
citizen of the State of Tennessee.

2. At all times mentioned herein, the plaintiff, Double K Express, Inc., was
a Tennessee corporation with its principal place of business located at 2294
Tollisontown Road, Sparta, Tennessee.

3. On and before August 8, 2017, the defendant, AKA 1 Trans, Inc., was a
Wisconsin corporation with its principal place of business located at N1171
Sandalwood Drive, Pell Lake, Wisconsin.

4. On and before August 8, 2017, the defendant, Otis Delano Reynolds,

was a citizen of the State of Florida.

 
 

 

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5. Jurisdiction is in this court pursuant to 28 U.S.C. Section 1332.

6. On and before August 8, 2017, the defendant, AKA 1 Trans, Inc.
(hereinafter “AKA”), owned a 2007 Volvo VN780 tractor bearing Vehicle Identification
Number 4V4NC9TK87N461205.

Fs On and before August 8, 2017, the plaintiff, Double K Express, Inc.
(hereinafter “Double K”) owned a 2016 Peterbilt 386 tractor bearing vehicle
identification number INPKGGGG70D321010.

8. On August 8, 2017 at approximately 3:00 a.m., the Double K tractor
was parked on the premises of the Frito-Lay facility at 1886 Upper Maple Street,
Dayville, Connecticut.

9, At that time and place, the plaintiff, Joseph Ferraro, was asleep in the
bunk of that tractor.

10.  Atthat time and place, the defendant, Otis Delano Reynolds, was
operating the 2007 Volvo VN780 tractor referenced in paragraph 6, above.

11. At that time and place, Otis Delano Reynolds was operating that vehicle
as the agent, servant, and employee of defendant AKA within the scope of his

authority.

 
 

 

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12. At that time and place, the tractor being operated by the defendant Otis
Delano Reynolds struck the tractor in which the plaintiff, Joseph Ferraro was
sleeping, causing the plaintiff, Joseph Ferraro to fall from his bunk.

13. As aresult of that crash, the plaintiff, Joseph Ferraro sustained severe,
painful and permanent injuries consisting of a shock to his nervous system,
lumbosacral neuritis, cervical spondylosis with left cervical radiculopathy,
lumbosacral spondylosis with radiculopathy, neuroforaminal stenosis at C3-4, C5-6,
C7-T1, headache. Those injuries have caused him and will cause him pain and
suffering, mental distress and anxiety, and have caused him and will cause him to
limit his activities.

14. Asa result of those injuries, the plaintiff, Joseph Ferraro has incurred
expenses for hospitalization, diagnostic imaging and testing, medication, physical
therapy, epidural steroidal injections, consultation, and transportation.

15. Asa further result of those injuries, the plaintiff, Joseph Ferraro has lost
time from work, will lose time from work, and his earning capacity has been impaired,

all to his financial loss.

 
 

 

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16. ‘The plaintiff Joseph Ferraro’s injuries and losses, as described herein,
were proximately caused by the negligence of the defendant, Otis Delano Reynolds,
in one or more of the following ways, in that:

(a) He failed to be watchful of his surroundings;

(b) He failed to keep his tractor under proper and reasonable
control;

(c) He moved his tractor when such movement could not have been
made with reasonable safety and without colliding with the Ferraro tractor, in violation
of due care and Section 14-243 of the Connecticut General Statutes:

(d) He failed to keep a proper and reasonable lookout for other
motor vehicles upon the parking lot;

(e) He failed to apply his brakes in time to avoid the collision:

(f) He operated the tractor when it was not equipped with brakes
adequate to bring it to a controlled stop within the distance and under the conditions
prescribed and when the brakes were not in good working order in violation of due
care and section 14-80h(a) of the Connecticut General Statutes;

(g) He failed to give a warning;

 
 

 

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(h) — He failed to turn the tractor to the left or to the right to avoid that
collision.

SECOND COUNT: (AS TO DOUBLE K EXPRESS, INC. VS. OTIS DELANO
REYNOLDS, ET AL)

1-16. Paragraphs 1-16 of the First Count are hereby incorporated as
paragraphs 1-16 of the Second Count.
17. As a result of that crash, the plaintiff Double K lost the use of that

tractor, to its financial loss.

 
 

 

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THE PLAINTIFFS CLAIM DAMGES AS FOLLOWS:

ls The plaintiff, Joseph Ferraro, claims compensatory damages in an
amount greater than Two Hundred Fifty Thousand ($250,000.00) Dollars;

2, The plaintiff, Double K Express, Inc., claims compensatory damages in
an amount greater than Seventy-Five Thousand ($75,000.00) Dollars;

THE PLAINTIFF HEREBY DEMANDS A TRIAL BY JURY.

Dated at New Haven, Connecticut this __21st__ day of February, 2019.

THE PLAINTIFFS,

BY:

 

Cc

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